

People v Lambe (2022 NY Slip Op 04107)





People v Lambe


2022 NY Slip Op 04107


Decided on June 23, 2022


Appellate Division, First Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered: June 23, 2022

Before: Renwick, J.P., Kern, Kennedy, Mendez, Higgitt, JJ. 


Ind. No. 4419/18 Appeal No. 16178 Case No. 2019-03921 

[*1]The People of The State of New York, Respondent, 
vFranky Lambe, Defendant-Appellant.


Janet E. Sabel, The Legal Aid Society, New York (Adrienne M. Gantt of counsel), for appellant.
Alvin L. Bragg, Jr., District Attorney, New York (Meghan McLoughlin of counsel), for respondent.



An appeal having been taken to this Court by the above-named appellant from a judgment of the Supreme Court, New York County (Ann E. Scherzer, J.), rendered July 16, 2019,
Said appeal having been argued by counsel for the respective parties, due deliberation having been had thereon, and finding the sentence not excessive,
It is unanimously ordered that the judgment so appealed from be and the same is hereby affirmed.
THIS CONSTITUTES THE DECISION AND ORDER OF THE SUPREME COURT, APPELLATE DIVISION, FIRST DEPARTMENT.
ENTERED: June 23, 2022
Counsel for appellant is referred to § 606.5, Rules of the Appellate Division, First Department.








